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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE:
REALLOTMENT OF SECTION F CASES



                                      GENERAL ORDER


       Due to the recent passing of the Honorable Martin L.C. Feldman,

       IT IS ORDERED that the Clerk of Court is hereby DIRECTED to randomly reallot

pending Section F civil and criminal cases for further handling.

                                CRIMINAL ACTION CASES:

   78-285         USA v. Manuel Javier Restrepo


   83-166         USA v. Thomas Paul Gray, et al


   84-360         USA v. Frankie Lee Kinchen, et al


   86-182         USA v. Frederick A. Pou, Jr.


   87-200         USA v. Louis Solares, et al


   87-465         USA v. Anthony Joseph Varca, et al


   92-210         USA v. Manuel Francisco Rebolledo Tenorio, et al


   98-175         USA v. Terrance Kasses Washington, et al


   99-354         USA v. Gregory Joseph Hernandez, et al




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00-316        USA v. Evaristus B. Mackey, Jr. (closed case)


07-143        USA v. William Reed (closed case)


03-346        USA v. Brian Nickles (closed case)


09-46         USA v. Kenwuane Moore, et al (closed case)


09-166        USA v. Tehran Michael Wills, et al (closed case)


09-398        USA v. Tony Simmons, et al (closed case)

Related Civil Case
20-2619        Theron Jones v. USA (28 U.S.C. 2255)


12-259        USA v. Lance Givens, et al (closed case)


13-104        USA v. Terrill Baker (closed case)


13-170        USA v. Erick Garrison (closed case)


13-208        USA v. Allison Chriswell, et al (closed case)


14-22         USA v. Peter M. Hoffman, et al (closed case)


17-169        USA v. Tony Lam (closed case)


17-207        USA v. Keith A. James (closed case)

Related Civil Case
21-2199        Keith A. James v. USA (28 U.S.C. 2255)


18-211        SEALED



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19-25         USA v. Jeffrey Wise, et al


19-38         USA v. Rafael Molina, et al


19-108        USA v. Hakeam Drane, et al


19-214        USA v. Andrew Payton


19-241        USA v. Byron Lackings


20-55         USA v. Jason R. Williams, et al

Related Criminal Case
20-139        USA v. Nicole E. Burdett


20-56         USA v. Demetrius Lamont Fiorentino, Jr.


20-111        USA v. Alton Cooks


21-3          USA v. Ritchel Morehead


21-14         USA v. Christopher May


21-30         USA v. Betty Arrington


21-43         USA v. Dominic Romano


21-100        USA v. Odai Wireless, LLC


21-110        USA v. Ashley McGowan, et al


21-120        USA v. Brian Tardy




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21-142     USA v. Nelson Raymond


21-150     USA v. Calvin Batiste


21-151     SEALED


21-162     USA v. Travis Carter


22-8       SEALED


                            CIVIL ACTION CASES:

65-16173   Banks et al v. St James Parish School Board et al


11-1200    Hebert v. BP America, Inc. et al


13-1018    Keller v. BP Exploration & Production, Inc. et al


13-1802    DeAgano et al v. BP Exploration & Production, Inc et al


13-3928    Kendrick v. BP Exploration & Production Inc et al


17-2674    Granier v. BP p.l.c. et al


17-3020    Anderson v. BP Exploration & Production, Inc. et al


17-3054    Bowens v. BP Exploration & Production, Inc. et al


17-3087    Broadway v. BP Exploration & Production, Inc. et al


17-3128    Coleman v. BP Exploration & Production, Inc. et al




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17-3139   Darrington v. BP Exploration & Production, Inc. et al


17-3225   Turner v. BP Exploration & Production, Inc. et al


17-3230   Wynne et al v. BP Exploration & Production, Inc. et al


17-3232   Howell v. BP America Production Company et al


17-3265   Harris v. BP Exploration & Production, Inc. et al


17-3267   Harris v. BP Exploration & Production, Inc. et al


17-3291   Huynh v. BP Exploration & Production, Inc. et al


17-3294   Jackson v. BP Exploration & Production, Inc. et al


17-3299   Jackson v. BP Exploration & Production, Inc. et al


17-3300   Jacobs v. BP Exploration & Production, Inc. et al


17-3314   Kenner v. BP Exploration & Production, Inc. et al


17-3320   Lawton v. BP Exploration & Production, Inc. et al


17-3324   Leverette v. BP Exploration & Production, Inc. et al


17-3379   McClendon v. BP Exploration & Production, Inc. et al


17-3396   McMillan v. BP Exploration & Production, Inc. et al


17-3400   Minton v. BP Exploration & Production, Inc. et al




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17-3443   Abdelfattah v. BP Exploration & Production, Inc. et al


17-3510   Brister v. BP Exploration & Production, Inc. et al


17-3527   Crumpton v. BP Exploration & Production, Inc. et al


17-3573   Moore v. BP Exploration & Production, Inc. et al


17-3576   Moore v. BP Exploration & Production, Inc. et al


17-3598   Peschlow v. BP Exploration & Production, Inc. et al


17-3634   Bean v. BP Exploration & Production, Inc. et al


17-3646   Chatman v. BP Exploration & Production, Inc. et al


17-3650   Conley v. BP Exploration & Production, Inc. et al


17-3990   Fleming v. BP Exploration & Production, Inc. et al


17-3996   Giusti v. BP Exploration & Production, Inc. et al


17-4072   McKay v. BP Exploration & Production, Inc. et al


17-4076   O'Neal v. BP Exploration & Production, Inc. et al


17-4077   Packer v. BP Exploration & Production, Inc. et al


17-4142   Brown v. BP Exploration & Production, Inc. et al


17-4224   Wells v. BP Exploration & Production, Inc. et al




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17-4240   Woodland v. BP Exploration & Production, Inc. et al


17-4250   Smith v. BP Exploration & Production, Inc. et al


17-4254   Spencer v. BP Exploration & Production, Inc. et al


17-4267   Toler v. BP Exploration & Production, Inc. et al


17-4277   Williams v. BP Exploration & Production, Inc. et al


17-4281   Phillips v. BP Exploration & Production, Inc. et al


17-4298   Watts v. BP Exploration & Production, Inc. et al


17-4313   Davis v. BP Exploration & Production, Inc. et al


17-4335   Graves v. BP Exploration & Production, Inc. et al


17-4336   Gray v. BP Exploration & Production, Inc. et al


17-4350   Haynes v. BP Exploration & Production, Inc. et al


17-4357   Hinton v. BP Exploration & Production, Inc. et al


17-4365   Isom v. BP Exploration & Production, Inc. et al


17-4383   Jones v. BP Exploration & Production, Inc. et al


17-4391   Kirkland v. BP Exploration & Production, Inc. et al


17-4424   Martin vs. BP Exploration & Production, Inc., et al




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17-4448        Mills v. BP Exploration & Production, Inc. et al


17-4536        Robinson v. BP Exploration & Production, Inc. et al


17-4554        Scott et al v. BP Exploration & Production, Inc. et al


17-4586        Smith v. BP Exploration & Production, Inc. et al


17-4597        Willis v. BP Exploration & Production, Inc. et al


17-4611        Thompson v. BP Exploration & Production, Inc. et al


17-4645        Walker v. BP Exploration & Production, Inc. et al


17-7668        Taylor et al v. Denka Performance Elastomer LLC et al

Consolidated with
18-5739       Gerard v. Denka Performance Elastomer LLC et al (closed case)


17-9703        Richard v. St Tammany Parish Sheriff Department


18-2851        Turner et al v. Cook et al


18-4026        In Re: Carriere (closed case)

Consolidated with
18-10089      Taylor et al v. Fulton et al


18-5217        Plaquemines Parish v. Riverwood Production Company, Inc., et al
               (closed case)


18-6685        Butler v. Denka Performance Elastomer LLC et al


18-9112        SEALED



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18-11661   Hughes v. Vannoy et al (closed case)


19-9310    White v. Dynamic Industries, Inc.


19-11106   Thames v. Marquette Transportation Company Offshore, LLC


19-11202   Ramos v. Iron Mountain Secure Shredding, Inc. et al


19-11686   Jenkins v. BP Exploration & Production, Inc. et al


19-11954   Mullen v. Daigle Towing Service, LLC


19-12233   Guidry et al v. Dow Chemical Company et al


19-12633   Orleans Shoring, LLC v. E. Cornell Malone Corp. et al


19-13298   Mitchell et al v. Parish of Jefferson et al


19-13381   Bridges et al v. Guy et al


19-13929   Ross v. Ports America Gulfport, Inc. et al


19-13949   Johnson, et al v. Gusman, et al


19-13950   Riley v. Cantrell, et al


20-48      Fradella et al v. Dillard Department Stores, Inc.


20-214     Schambach et al v. Mandeville City et al


20-293     In Re: In the Matter of Callais & Sons, LLC




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20-414     Caytrans Project Services Americas, Ltd v. BBC Chartering & Logistics
           GmbH & Co. KG


20-633     SEALED


20-757     United States of America v. Favalora Constructors, Inc.


20-1173    Minckler v. Waterman Steamship Corporation et al


20-1671    Simmons v. United States of America


20-2259    Turner v. Grand Isle Shipyard, LLC et al


20-2313    Cayce v. BP Exploration & Production, Inc. et al


20-2323    Acosta et al v. Denka Performance Elastomer LLC et al


20-2440    De Souza v. LVNV Funding LLC


20-2503    Wyatt v. Union Pacific Railroad Company


20-2546    Lewis v Marriott Corporation et al


20-2641    Singleton v. Honeycutt et al


20-2768    Dabney et al v. United Services Automobile Association


20-2813    Fikes v. Regional Freightways, LLC et al


20-2879    Twiggs v. University of Holy Cross


20-2920    Courcelle v. Social Security Administration



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20-3012    Turn Services, L.L.C. v. Gulf South Marine Transportation, Inc.


20-3147    Barrosse v. National Railroad Passenger Corporation, et al


20-3192    Kingsbery v. David Paddison, Attorney-at-Law LLC et al


21-17      Bilderback v. Hartford Life and Accident Insurance Company


21-35      Levens v. Gaspard et al


21-80      Lou et al v. Lopinto et al


21-109     Galan v. Deepwater Horizon Medical Benefits Settlement Claims
           Administrator et al


21-184     Young v. Richard et al


21-245     Morris v. Progressive Casualty Insurance Company


21-254     Doucet v. Vannoy et al


21-298     Starks v. PC Baywood, LLC et al


21-356     Bryant v. Aetna Life Insurance Company


21-364     Doe v. Administrators of the Tulane Educational Fund


21-444     Utopian Wireless Corporation v. Assumption High School et al


21-485     Wright v. Louisiana State et al


21-493     Townley v. Forest River, Inc. et al



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21-609        Hatty v. Children's International, L.L.C.


21-646        Mohammed v. Williams et al


21-664        Turner v. Board of Supervisors of the University of Louisiana System et al


21-840        Cooley v. Social Security Administration


21-993        Strickney v. DMC Towing, LLC et al


21-999        Verret v. Low Land Construction Co., Inc.


21-1028       Arrowood Indemnity Company v. St. Joseph's Roman Catholic Church


21-1205       Lasage v. Meyers


21-1251       AMCO Insurance Company v. P.F. Chang's China Bistro, Inc.


21-1266       Williams v. Enterprise Offshore Drilling, LLC


21-1282       Jolla v. DG Louisiana, LLC et al


21-1338       Adams et al v. Amec Foster Wheeler USA Corporation et al


21-1346       Clement v. Crosby Tugs, LLC et al


21-1349       In Re: In the Matter of Cenac Towing Co., LLC

Consolidated with
21-1372       In Re: In the Matter of the Complaint of Kirby Inland Marine, LP

Consolidated with
21-1406       In Re: In the Matter of Florida Marine, LLC




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21-1419    Lawson v. BP Exploration & Production, Inc. et al


21-1422    Guillotte v. Knowlin et al


21-1470    Schmill v. Metropolitan Life Insurance Company


21-1473    Raines v. Seabulk Towing Services, Inc.


21-1476    Gray v. Meyers


21-1532    Perrilloux v. Kubota Corporation et al


21-1590    Manuel v. Patterson et al


21-1597    North v. Lowe's Home Center, LLC


21-1635    Chaisson v. Hilcorp Energy Company


21-1656    Billiu v. Sea Support Services, LLC et al


21-1660    Dials v. Phillips 66 Company et al


21-1672    Alexander v. Daigle Towing Service, L.L.C. et al


21-1723    Johnson v. Winn-Dixie Montgomery, LLC et al


21-1726    Allstate Indemnity Company v. Whirlpool Corporation et al


21-1742    Waveland Services, Inc. et al v. Caswell et al


21-1778    CSX Transportation, Inc. v. Devall Towing & Boat Service, Inc. et al




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21-1824    Dillon v. Lafourche Parish et al


21-1884    Fank v. Walmart Inc., et al


21-1928    Russell v. Walmart Inc.


21-1961    Cagle v. Wal-Mart Louisiana, L.L.C. et al


21-1970    Morales v. Big Lots Stores, Inc.


21-2015    Young v. Louisiana State et al


21-2020    Joe Hand Promotions, Inc. v. Ponchatoula Pub, Inc. et al


21-2055    Hyde et al v. Boston Scientific Corporation


21-2064    City of Kenner v. Certain Underwriters at LLoyd's, London et al


21-2072    Buckley v. United Parcel Service of America et al


21-2077    Kahn et al v. Schneider et al


21-2173    Dixon v. Social Security Administration


21-2181    Stevenson v. Avis Car Rental


21-2242    G.K. v. D.M.


21-2245    Borne v. Forest River, Inc.


21-2246    Beard v. Ammari Holdings, LLC et al




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21-2253    Price v. Galliano Marine Service, L.L.C.


21-2265    Sheriff v. Allstate Insurance Company


21-2269    Vanguard Marine Inc. v. Bunge North America, Inc.


21-2301    Giovingo v. Gordon Biersch Brewery Restaurant et al


21-2310    Harrison v. Vici Properties, Inc. et al


21-2333    Hospitality Holding of LA, LLC v. Underwriters at Lloyd's London


21-2340    Walker v. Lancer Insurance Company et al


21-2351    Lee et al v. Cruz et al


21-2355    Guevara v. ARO Solutions LLC et al


21-2362    Ratley v. Beck et al


21-2369    Myers v. Lyft, Inc. et al


21-2400    Tibbetts v. 3M Company et al


21-2407    Woodson v. Waffle House, Inc.


22-26      Kent v. Southern Towing Company, LLC


22-67      Garcia v. Dynamic Industries, Inc. et al


22-84      Price v. Eagle, Inc. et al




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22-111       Filsinger v. Voodoo Fishing Charters, LLC


22-121       Lookadoo v. Winn-Dixie Stores, Inc. et al


22-145       Hess Corporation v. Marathon Oil Corporation


22-161       Voelkel et al v. Progressive Hawaii Insurance Corp et al


22-165       DeJean v. Jefferson Parish Sheriff Office


   New Orleans, Louisiana, this ______
                                 28th day of January, 2022.




                                       __________________________________
                                        NANNETTE JOLIVETTE BROWN
                                                CHIEF JUDGE
                                       UNITED STATES DISTRICT COURT




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